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         EXHIBIT M




                                                                EXHIBIT M
                                                                 PAGE 224
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From: Filipp Petkevitch <filipp.petkevitch@buzko.legal>
Date: Monday, 5 February 2024 at 19:42
To: Speer, R. Taylor <TSpeer@foxrothschild.com>
Cc: Peter Bryce <peter.bryce@buzko.legal>, Robert Lynch <robert.lynch@buzko.legal>
Subject: Re: BEEQB/Blockquarry Discussion

Dear Taylor,

It took a while, but here’s the spreadsheet with the number of miners, corresponding invoices, and
customs information for both facilities that we operated in the U.S. The number of machines may be the
ultimate inventory since some of the machines broke down or were sent for repairs. Also, here’s t he link
to the folder with a bit more detailed invoices and even photos of the unpacking of equipment, courtesy
of our client. I believe this shall help with any doubts as to whether BEEQB actually owns the
equipment.

As for the time for an all-hands call, our client is available on Wednesday 12-3 pm EST; please let me
know what works for you and your client.

Best Regards,

Filipp




                                                                                       EXHIBIT M
                                                                                        PAGE 225
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Location   No Invoices     Entry Customs Date             Equipment        Quantity       Site            Total This
USA        235-2513 3953 8AT-0000313-4      02.11.2021 S19j pro 92 this                23 Gaffney                      2116
USA        235-2513 3953 8AT-0000313-4      02.11.2021 S19j pro 104 th/!              202 Gaffney                  21008
USA        235-2513 3953 8AT-0000313-4      02.11.2021 S19j pro 96 this                50 Gaffney                      4800
USA        235-2513 3953 8AT-0000313-4      02.11.2021 S19j pro 100 th/!                9 Gaffney                      900
USA        235-2513 3953 8AT-0000313-4      02.11.2021 S19j pro 88 this                 2 Gaffney                       176
USA        235-0508 5080                    02.06.2022 S19j pro 96 this                47 OK                           4512
USA        235-0508 5080                    02.06.2022 S19j pro 104 th/i              147 OK                       15288
USA        235-0508 5080                    02.06.2022 S19j pro 100 th/!               67 OK                           6700
USA        235-0508 5076                    05.07.2022 S19j pro 100 th/!              265 OK                       26500
USA        235-0633 4921                    17.09.2022 S19XP 141 this                 145 OK                       20445
USA        235-0633 4921                    17.09.2022 S19XP 134 this                  24 OK                           3216
USA        235-0556 8592 8AT-0000532-9-:        7.10.2022 S19XP 134 this               44 Gaffney                      5896
USA        235-0556 8592 8AT-0000532-9-:        7.10.2022 S19XP 141 this              126 Gaffney                  17766
USA        235-6303 3935                    25.11.2022 S19XP 134 this                  44 OK                           5896
USA        235-6303 3935                    25.11.2022 S19XP 141 this                 126 OK                       17766
USA        235-6303 5711                    15.12.2022 S19XP 141 this                  61 OK                           8601
USA        235-6303 5711                    15.12.2022 S19XP 134 this                 113 OK                       15142
USA        235-6311 6841                    05.01.2023 S19XP 141 this                  80 OK                       11280
USA        235-6311 6841                    05.01.2023 S19XP 134 this                  60 OK                           8040




                                                                                                                EXHIBIT M
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    Shipper:                                         Consignee:
    SMT TECHNOLOGIES SDN. BHD.                       BEEQB LLC
    PLOT 102 & 102A, BAKAR ARANG INDUSTRIAL          212 NW 4th Avenue Hallandale beach, Florida
    ESTATE, 08000 SUNGAI PETANI, KEDAH               #33009


                                                                                  Invoice# 20221102-1

                                                                Date of the invoice:November 02 2021

                                                             Payment terms:NET 90 days after delivery

                                                                    Terms of delivery:EXW Kuala Lumpur

                                                                               Ref:0012021120601005

    Item   Model                        Q-ty     Description TH/s          Amount, USD
    1      Antminer 240-C (S19j PRO)    23       92 TH/s                   202 501.20
    2      Antminer 240-C (S19j PRO)    202      104 TH/s                  2 010 465.60
    3      Antminer 240-C (S19j PRO)    so       96 TH/s                   459 360.00
    4      Antminer 240-C (S19j PRO)    9        100 TH/s                  86 130.00
    5      Antminer 240-C {S19j PRO)    2        88 TH/s                   16 843.20
                                                                               Total:2 775 300.00 USD

    SHIP TO Miami USA



    Banking information:

    Bank details:

    Bank Name:OCBC Bank Ltd

    Bank Address:63 Chulia Street, #10-00 OCBC

    Centre East, Singapore 049514

    SWIFT Code:OCBCSGSG

    Account No (USD):503-325151-301




                                                                                      EXHIBIT M
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                  NationGate Solution (M) Sdn.Bhd
                  2.4'6 & 2511 TINGKAT P.ERUSAHAAN 4A
                  KAWASAN PERUSAHAAN PRAI, 13'80 PERAi, PULAU PJNANG



                                                                   INVOICE NO: 07102021A
                                                                        DATE: 7-0ct-1021
                                                                     lncoterm : BXW

Shipped To & IOR
BEEQB LLC
212 NW 4th Avenue HaHandale beach, Florida 133009




                                                    INVOICE

                                                                      Unit Price
Model number        CUST PO       QTY               DESCRIPTION                     Amount(US)
                                                                           s
S19XP                                  44 Antminer S19XP 134TH/s          6767.00           297748.00
S19XP                                 126 Antminer S19XP 141TH/s          7121.00           897246.00




                                          COUNTRY OF ORIGIN:MALAYSIA


                                 HAWB# 235-0556 8591
                                 OrderNumber: 0011011091901001, 0011011091901003
                                 HTS code: 8543. 70.9860



REMARK
NO COM                      UE. DECLARED FOR CUSTOMS PURPOSE ONLY



                                                            TOTAL(US)                   1,194,994.00




                                                                                                 EXHIBIT M
                                                                                                  PAGE 228
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                   DEPARTMENT OF HOMELAND SECURITY                                                                      PAPERLESS                  0MB APPROVAL NO. 1651-0022

                      U.S. Customs and Border Protection
                                                                                                                                                   EXPIRATION DATE 01/31/2021
                                                                                                                                                   ESTIMATED BURDEN 10 MIN
��-.. VJ                                                                                     1. Filer Code/Entry No.    2. Entry Type                  3. Summary Date
                                                                                             8AT-0000313-4              01 ABI/A                       01/07/22 GEZ
 <-1..,.0 s�c.:

                             ENTRY SUMMARY
                                                                                             4. Surety No. 5. Bond Type 6. Port Code                  7. Entry Date
                                                                                                          I
                                                                                             036            8           5206                          12/28/21
 8. Importing Carrier                                9. Mode of Transport                    10. Country of Origin                                     11. Import Date
 TK                                                  40                                      MY                                                        12/27/21
 12. B/L or AWB No.                                  13. Manufacturer ID                     14. Exporting Country                                    15. Export Date
 23525133953, SDBA42100877                              MYSMTTEC102SUN                       TR                                                       12/27/21
  16. I.T. No.                           17. I.T. Date                18. Missing Docs       19. Foreign Port of Lading                  20. U.S. Port of Unlading
                                     1                            1
                                                                                                                                         5206
  21. Location of Goods/G.O. No. 22. Consignee No.                                           23. Importer No.                            24. Reference No.
                                 1
  0935 Flight: 0077               83-227348400                                               83-227348400
 25. Ultimate Consignee Name and Address                                                     26. Importer of Record Name and Address
 BEEQB LLC                                                                                   BEEQB LLC
 212 NW 4TH AVE                                                                              212 NW 4TH AVE

 Destination: FL
 City HALLANDALE BEACH                            State FL        Zip 33009-4015            City HALLANDALE BEACH          State FL Zip 33009-4015
                                                                                                    32.                33.                 34.
          27.                   28. Description of Merchandise
                                                                                                             A. HTSUS Rate        Duty and I.R. Tax
                           29.                 30.             31.                          A. Entered Value B. ADA/CVD Rate
       Line        A. HTSUS No.        A. Grossweight Net Quantity in                       B. CHGS          C. IRC Rate          Dollars        Cents
       No.         B. ADA/CVD No.      B. Manifest Qty. HTSUS Units                         C. Relationship  D. Visa No.
                                                                             16 PKGS
          001 ELECTRIC MACHINE,APPARTUS NSPF
              8543.70.9960       5,008 KG                                  286.00 NO                $2,775,300 2.6%                                              $72,157.80
                                                                                                      C $1,500
                                                                                                   N
 ---------- ______________________________ 499_-_Merchandise_Processing _Fee ------------------------- ------------------------------------------------------------
                                                                                                        0.3464%                                     $9,613.64

             Totals for Invoice                                        Invoice Value                    +/- MMV             Exchange                       Entered Value
             20221102-1                                         2,775,300.00 USO                                               1.00000                12,775,300.00 USO
 ========== ================================================================================ ========================= ============================================================




  Other Fee Summary for Block 39  35. Total Entered Value
                                                                                                CBP USE ONLY                                             TOTALS
  499- MPF                $538.40                                                            A. LIQ CODE               B. Ascertained Duty            37. Duty
                                  $2,775,300
                                  Total Other Fees                                                                                                               $72,157.80
                                                                                             REASON CODE               C. Ascertained Tax             38. Tax
                                                $538.40
 36. DECLARATION OF IMPORTER OF RECORD (OWNER                                                                          D. Ascertained Other           39. Other
 OR PURCHASER) OR AUTHORIZED AGENT
                                                                                                                                                                      $538.40
 I declare that I am the    D
                            Importer of record and that the actual owner,                                              D. Ascertained Total           40. Total
 purchaser, or consignee for CBP purposes is as shown above, OR � owner                                                                                       $72,696.20
 or purchaser or agent thereof. I further declare that the merchandise � was obtained pursuant to a purchase or agreement to purchase and that the
 prices set forth in the invoices are true, OR      D
                                                    was not obtained pursuant to a purchase or agreement to purchase and the statements in the invoices as
 to value or price are true to the best of my knowledge and belief. I also declare that the statements in the documents herein filed fully disclose to the best
 of my knowledge and belief the true prices, values, quantities, rebates, drawbacks, fees, commissions, and royalties and are true and correct, and that all
 goods or services provided to the seller of the merchandise either free or at reduced cost are fully disclosed.
 I will immediatelv furnish to the aoorooriate CBP officer anv information showino a different statement of facts.
  41. DECLARANT NAME                                       TITLE                                         SIGNATURE                                        DATE
                                                                                                                                                         12/22/21
  42. Broker/Filer Information (Name, address, phone number)                                43. Broker/Importer File No.
 Zeus Customs LLC                                                                           ZEU-24
 607 SHELBY STREET
 SUITE 700 PMB 293
 DETROIT, Ml 48226 8478094777
CBP Form 7501 (2/18)                                                                                                                                                 Page 1 of 1

                                                                                                                                                    EXHIBIT M
                                                                                                                                                     PAGE 229
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           PAPERLESS                                       DEPARTMENT OF HOMELAND SECURITY                                                        0MB APPROVAL NO. 1651-0022

                                                              U.S. Customs and Border Protection
                                                                                                                                                  EXPIRATION DATE 01/31/2021



                                                                          ENTRY SUMMARY
1. Filer Code/Entry Number               2. Entry Type      3. Summary Date 4. Surety Number 5. Bond Type1 6. Port Code                               7. Entry Date
                                                                           I                   1          I
8AT-0000532-9                            01 ABI/A           11/15/22 GEZ '. 036                 8          5206                                       11/02/22
8. Importing Carrier                                9. Mode of Transport        10. Country of Origin                                                 11. Import Date
TK                                                  40                          MY                                                                    11/02/22
12. B/L or AWB Number                             13. Manufacturer ID                       14. Exporting Country                                 15. Export Date
23505568592                                         MYNATSOL2511KAW                         MY                                                    10/21/22
16. I.T. Number                       17. I.T. Date          18. Missing Docs               19. Foreign Port of Lading                  20. U.S. Port of Unlading
                                    1                      1
                                                                                                                                        5206
21. Location of Goods/G.O. Number 22. Consignee Number                                      23. Importer Number                         24. Reference Number
                                  83-227348400                                              83-227348400
25. Ultimate Consignee Name (Last, First, M.I.) and Address                                 26. Importer of Record Name(Last, First, M.I.) and Address
BEEQB LLC                                                                                   BEEQB LLC
Street: 212 NW 4TH AVE                                                                      Street: 212 NW 4TH AVE

Destination: FL
City: HALLANDALE BEACH            State: FL Zip: 33009-4015 City: HALLANDALE BEACH             State: FL Zip: 33009-4015
                                                                       32.                 33.                 34.
   27.              28. Description of Merchandise                                  A. HTSUS Rate        Duty and IR Tax
                                                                A. Entered Value
  Line         29.                 30.               31.            B. CHGS        B. ADA/CVD Rate
   No.    A. HTSUS No.     A. Gross Weight      Net Quantity in                                        Dollars      Cents
                                                                 C. Relationship      C. IRC Rate
          B. AD/CVD No.    B. Manifest Qty.      HTSUS Units                          D. Visa No.
                                                     10 PKGS
   001 ELECTRIC MACHINE,APPARTUS NSPF
       8543.70.9860                774 KG            44.00 NO          $297,748 2.6%                            $7,741.45
                                                                         C $907
                                                                                                                 N
                                                                                                       0.3464%                                     $1,031.40
---------- ______________________________ 499_-_Merchandise_Processing _Fee ------------------------- ------------------------------------------------------------
    002 ELECTRIC MACHINE,APPARTUS NSPF
            8543.70.9860                       2,214 KG        126.00 NO               $897,246 2.6%                                             $23,328.40
                                                                                      C $2,593
                                                                                                                 N
---------- ______________________________ 499_-_Merchandise_Processing _Fee ------------------------- -------------------------------
                                                                                                       0.3464%                                     $3,108.06
                                                                                                                                     -----------------------------

           Totals for Invoice                                      Invoice Value                       +/- MMV            Exchange                      Entered Value
           07102022A                                           1,194,994.00 USD                                            1.00000                  1,194,994.00 USD
========== ================================================================================ ========================= ============================================================


Other Fee Summary(for Block 39)  35. Total Entered Value
                                                                                               CBP USE ONLY                                             TOTALS
499- MPF                 $575.35                                                            A. LIQ CODE               B. Ascertained Duty             37. Duty
                                 $1,194,994
                                 Total Other Fees                                                                                                                $31,069.85
                                                                                            REASON CODE               C. Ascertained Tax              38. Tax
                                              $575.35
36. Declaration o f Importer o f Record (Owner or Purchaser) or                                                       D. Ascertained Other            39. Other
Authorized Agent
                                                                                                                                                                     $575.35
I declare that I am the   DImporter of record and that the actual owner,                                              D. Ascertained Total
                                                                                                                                        40. Total
purchaser, or consignee for CBP purposes is as shown above, OR � owner                                                                            $31,645.20
or purchaser or agent thereof. I further declare that the merchandise � was obtained pursuant to a purchase or agreement to purchase and that the
 prices set forth in the invoices are true, OR     Dwas not obtained pursuant to a purchase or agreement to purchase and the statements in the invoices as
to value or price are true to the best of my knowledge and belief. I also declare that the statements in the documents herein filed fully disclose to the best
of my knowledge and belief the true prices, values, quantities, rebates, drawbacks, fees, commissions, and royalties and are true and correct, and that all
goods or services provided to the seller of the merchandise either free or at reduced cost are fully disclosed.
 I will immediatelv furnish to the appropriate CBP officer anv information showino a different statement of facts.
 41. Declarant Name (Last, First, M. I.)               Title                                   Signature                                   Date
Amy Wicker, VP Customs Operations                                                                                                         11/02/22
 42. Broker/Filer Information Name(Last, First, M.I.) and Phone Number 43. Broker/Importer File Number
Zeus Customs LLC                                                                   ZEU-44
14443 BUCK ST
TAYLOR, Ml 48180 (415) 800-6500 X 409

CBP Form 7501 (5/22)                                                                                                                                                Page 1 of 1

                                                                                                                                                   EXHIBIT M
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                                                          DEPARTMENT OF HOMELAND SECURITY                                                           Page: 1
                                                           U.S. Customs and Border Protection                                                       ABI CERTIFIED
                                                                                                                                                    CST#GEZ
                                                                                                                                                            Released
                                                        ENTRY/IMMEDIATE DELIVERY
                                                             Zeus Customs LLC
                                                   607 SHELBY STREET, SUITE 700 PMB 293
                                                            DETROIT, Ml 48226
                                                                8478094777                                                                                           Form Approved
                                                                                                                                                                  0MB No. 1651-0024
                                                                          19 CFR 142.3, 142.16, 142.22, 142.24                                                      Exp. 08-31-2018
1. ARRIVAL DATE                                           2. ELECTED ENTRY DATE              3. ENTRY TYPE CODE/NAME                            4. ENTRY NUMBER

122721                                                                                          01                                              8AT-0000313-4
5. PORT                                                   6. SINGLE TRANS. BOND              7. BROKER/IMPORTER FILE NUMBER

5206                                                                                                                                            ZEU-24
                                                          8. CONSIGNEE NUMBER                                                                   9. IMPORTER NUMBER

                                                          83-227348400                                                                          83-227348400
10. ULTIMATE CONSIGNEE NAME                                                                  11. IMPORTER OF RECORD NAME

BEEQB LLC                                                                                       BEEQB LLC
212 NW 4TH AVE                                                                                  212 NW 4TH AVE
HALLANDALE BEACH , FL 33009-4015                                                                HALLANDALE BEACH , FL 33009-4015
12. CARRIER NAME                                          13. VOYAGE/FLIGHT/TRIP             14. LOCATION OF GOODS-CODE(S)/NAME(S)

TK                                                        0077                                  0935 TURKISH AIRLINES
15. VESSEL CODE/NAME



16. U.S. PORT OF UNLADING                                 17. MANIFEST NUMBER                18. G.O. NUMBER                                    19. TOTAL VALUE

5206                                                                                                                                                2,775,300
20. DESCRIPTION OF MERCHANDISE

ANTMINER BITCOIN MACHINE
21. IT/BL/AWB 22. IT/BL/AWB NO.                           23. MANIFEST QUANTITY              24. H.S. NUMBER                     25.COUNTRY     26. MANUFACTURER NO.
      CODE                                                                                                                          OF ORIGIN
M             23525133953                                                                       8543.70.9960                     MY             MYSMTTEC102SUN

H             SDBA42100877                                             16 PKGS




                                                                                             □
                             27. CERTIFICAT IO N                                                                             28. CBP USE O NLY
I hereby make application for entry/immediate delivery. I certify that the above
information is accurate, the bond is sufficient, valid, and current, and that all
                                                                                                    OTHER AGENCY ACTION REQUIRED, NAMELY:
requirements of 19 CFR Part 142 have been met.



                                                                                             □
SIGNATURE OF APPLICANT

X

                                                                                             □
PHONE NO.                                                 DATE
                                                                                                    CBP EXAMINATION REQUIRED
8478094777                                                12/22/21
                                                                                                    ENTRY REJECTED, BECAUSE:
          29. BROKER OR OTHER GOVT. AGENCY USE


                                                                                                                     SIGNATURE                                    DATE
                                                                                             DELIVERY            I
                                                                                             AUTHORIZED:




                                                                                                Electronic Entry Release Notification.
                                                                                                I certify proper release for this cargo has been received
                                                                                                 from U.S. Customs. Date: 12/28/21

Paperwork Reduction Act Statement: An agency may not conduct or sponsor an information collection and a person Is not required to respond
to this information unless it displays a current valid 0MB control number and an exr::,iration date. The control number for this collection is
1651-0024. The estimated average time to complete this application is 15 minutes. If you have any comments regarding the burden estimate
you can write to U.S. Customs and Border Protection, Office of Regulations and Rulings, 799 9th Street, NW., Washinglon DC 20229.
                                                                                                                                                        CBP Form 3461 (1 0/09)
                                                                                                                                                     EXHIBIT M
                                                                                                                                                      PAGE 231
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                                               Zeus Customs LLC
                                             607 SHELBY STREET
                                              SUITE 700 PMB 293
                                              DETROIT, Ml 48226
                                                  8478094777
                                                  Amy Wicker
                                              aw@zeuslogics.com

                                         Cargo Release Results
Entry Summary:       8AT-0000313-4
Importer:            BEEQB LLC
Trailer No:
Broker Ref. No:      ZEU-24
Cust. Ref. No:
Port of Entry:       5206

23525133953
SDBA42100877 00000016
   [12/28/21 12:00] 95: BILL ARRIVED
[12/28/21 12:00] 98: RELEASED, Release Date Update: 12/28/21 - Selectivity Processing Date
[12/28/21 12:00] 01: ONE USG
Received:            Tue, 12/28/21 3:14 PM EST

*All Times are Eastern Standard Time

Master Bill                     House Bill                      1C
23525133953                     SDBA42100877                    1C Entered




                                                                                              EXHIBIT M
                                                                                               PAGE 232
            7:24-cv-03179-TMC                             Date Filed 11/13/24                          Entry Number 39-13                        Page 10 of 11

                                                          DEPARTMENT OF HOMELAND SECURITY                                                           Page: 1
                                                           U.S. Customs and Border Protection                                                       ABI CERTIFIED
                                                                                                                                                    CST#GEZ
                                                                                                                                                            Released
                                                              ENTRY/IMMEDIATE DELIVERY
                                                                   Zeus Customs LLC
                                                                    14443 BUCK ST
                                                                  TAYLOR, Ml 48180
                                                                  (415) 800-6500 X 409                                                                               Form Approved
                                                                                                                                                                  0MB No. 1651-0024
                                                                          19 CFR 142.3, 142.16, 142.22, 142.24                                                      Exp. 08-31-2018
1. ARRIVAL DATE                                           2. ELECTED ENTRY DATE              3. ENTRY TYPE CODE/NAME                            4. ENTRY NUMBER

110222                                                                                          01                                              8AT-0000532-9
5. PORT                                                   6. SINGLE TRANS. BOND              7. BROKER/IMPORTER FILE NUMBER

5206                                                                                                                                            ZEU-44
                                                          8. CONSIGNEE NUMBER                                                                   9. IMPORTER NUMBER

                                                          83-227348400                                                                          83-227348400
10. ULTIMATE CONSIGNEE NAME                                                                  11. IMPORTER OF RECORD NAME
BEEQB LLC                                                                                       BEEQB LLC
212 NW 4TH AVE                                                                                  212 NW 4TH AVE
HALLANDALE BEACH, FL 33009-4015                                                                 HALLANDALE BEACH, FL 33009-4015
12. CARRIER NAME                                          13. VOYAGE/FLIGHT/TRIP             14. LOCATION OF GOODS-CODE(S)/NAME(S)

TK                                                        0157
15. VESSEL CODE/NAME



16. U.S. PORT OF UNLADING                                 17. MANIFEST NUMBER                18. G.O. NUMBER                                    19. TOTAL VALUE

5206                                                                                                                                                1,194,994
20. DESCRIPTION OF MERCHANDISE

ANTIMINER
21. IT/BL/AWB 22. IT/BL/AWB NO.                           23. MANIFEST QUANTITY              24. H.S. NUMBER                     25.COUNTRY     26. MANUFACTURER NO.
      CODE                                                                                                                          OF ORIGIN
M             23505568592                                              10 PKGS                  8543.70.9860                     MY             MYNATSOL2511KA\ I

                                                                                                8543.70.9860                     MY             MYNATSOL2511KA\ I




                                                                                             □
                             27. CERTIFICAT IO N                                                                             28. CBP USE O NLY
I hereby make application for entry/immediate delivery. I certify that the above
information is accurate, the bond is sufficient, valid, and current, and that all
                                                                                                    OTHER AGENCY ACTION REQUIRED, NAMELY:
requirements of 19 CFR Part 142 have been met.



                                                                                             □
SIGNATURE OF APPLICANT

X Amy Wicker, VP Customs Operations

                                                                                             □
                                                          DATE
PHONE NO.
                                                                                                    CBP EXAMINATION REQUIRED
(415) 800-6500 X 409                                      11/02/22
                                                                                                    ENTRY REJECTED, BECAUSE:
          29. BROKER OR OTHER GOVT. AGENCY USE


                                                                                                                     SIGNATURE                                    DATE
                                                                                             DELIVERY            I
                                                                                             AUTHORIZED:




                                                                                                Electronic Entry Release Notification.
                                                                                                I certify proper release for this cargo has been received
                                                                                                 from U.S. Customs. Date: 11/02/22

Paperwork Reduction Act Statement: An agency may not conduct or sponsor an information collection and a person Is not required to respond
to this information unless it displays a current valid 0MB control number and an exr::,iration date. The control number for this collection is
1651-0024. The estimated average time to complete this application is 15 minutes. If you have any comments regarding the burden estimate
you can write to U.S. Customs and Border Protection, Office of Regulations and Rulings, 799 9th Street, NW., Washinglon DC 20229.
                                                                                                                                                        CBP Form 3461 (1 0/09)
                                                                                                                                                     EXHIBIT M
                                                                                                                                                      PAGE 233
         7:24-cv-03179-TMC             Date Filed 11/13/24    Entry Number 39-13             Page 11 of 11



                                               Zeus Customs LLC
                                                14443 BUCK ST
                                               TAYLOR, Ml 48180
                                              (415) 800-6500 X 409
                                                  Amy Wicker
                                               aw@zeuslogics.com

                                          Cargo Release Results
Entry Summary:       8AT-0000532-9
Importer:            BEEQB LLC
Trailer No:
Broker Ref. No:      ZEU-44
Cust. Ref. No:
Port of Entry:       5206

Regular Bill: 23505568592 00000010
   [11/02/22 10:12] 95: BILL ARRIVED
[11/02/22 10:12] 98: RELEASED, Release Date Update: 11/02/22 - Selectivity Processing Date
[11/02/22 10:12] 01: ONE USG

Received:            Wed, 11/02/22 10:12 AM EDT

*All Times are Eastern Standard Time

Master Bill                     House Bill                      1C
23505568592                                                     1C Entered




                                                                                               EXHIBIT M
                                                                                                PAGE 234
